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1
2    Andrew M. Wagley, ISB #10277
3    Samir Dizdarevic-Miller, ISB #11471
4    ETTER, McMAHON, LAMBERSON,
5
     VAN WERT & ORESKOVICH, P.C.
     618 W. Riverside Avenue, Suite 210
6
     Spokane, WA 99201
7    Phone: 509-747-9100
8    Fax:   509-623-1439
9    Attorneys for Plaintiff
10
11
                          UNITED STATES DISTRICT COURT
12                    DISTRICT OF IDAHO (NORTHERN DIVISION)
13
14   CODY J. SCHUELER, an individual,
15
                          Plaintiff,             Case No. 2:22-cv-00389-DCN
16
17        v.
18                                               MEMORANDUM IN SUPPORT
19   FOUR SQUAREBIZ, LLC, a                      OF PLAINTIFF CODY
20   Wyoming limited liability company,          SCHUELER’S MOTION TO
     KEITH O. CREWS, an individual and           STRIKE DEFENDANT MICAH
21
     the associated marital community,           EIGLER’S ANSWER
22   MICAH EIGLER, an individual and
23   the associated marital community, and
24   JOHN AND JANE DOES 1-10,
25
26
                          Defendants.
27
28        COMES NOW, Plaintiff CODY J. SCHUELER, by and through his
29
30   attorneys of record, Andrew M. Wagley and Samir Dizdarevic-Miller of Etter,
31
     McMahon, Lamberson, Van Wert & Oreskovich, P.C., and hereby submits the
32


       Memorandum in Support of Plaintiff Cody    ETTER, MCMAHON, LAMBERSON,
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1
     following Memorandum in Support of his Motion to Strike Defendant Micah
2
3    Eigler’s Answer.
4
5
          As explained below, Mr. Eigler’s “Answer” is insufficient, as it fails to
6
     comply with the requirements of Fed. R. Civ. P. 8(b). Not only is Mr. Eigler’s
7
8    “Answer” presented on a form designated for small claims state court, but in the
9
10   pleading, Mr. Eigler fails to admit or deny, paragraph-by-paragraph, the
11
     allegations put forth in Mr. Schueler’s Complaint.
12
13                                        BACKGROUND
14
15        On September 12, 2022, Mr. Schueler filed his Complaint in this action
16
     against Four SquareBiz, LLC, Keith Crews, Micah Eigler, and John and Jane
17
18   Does 1-10 (collectively “Defendants”). (See ECF No. 1.) Mr. Eigler was
19
20   properly served with the Summons and Complaint on September 27, 2022. (See
21
     ECF No. 9.) Mr. Eigler filed his “Answer” on October 17, 2022. (See ECF No.
22
23   3.) Mr. Eigler’s Answer is written on a form meant to be filed in the “Small
24
25   Claims Department” of the District Court for the First Judicial District for the
26
     State of Idaho. (See id.)
27
28        In response to the question asking whether he owes Mr. Schueler money,
29
30   Mr. Eigler checked the box stating “No” in his purported “Answer.” (ECF No.
31
32


       Memorandum in Support of Plaintiff Cody   ETTER, MCMAHON, LAMBERSON,
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1
     3 at 1.) Mr. Eigler then wrote the following in response to the prompt asking
2
3    “state briefly why you do not owe the money”:
4
5
          I was merely an introducing party to the other defendant and I
          guaranteed on behalf of that defendant who was defrauded by another
6
          lending institution named Bitrei and Trust Funds Bank. Based on the
7         events that took place and the information that was provided to the
8         Plaintiff prior to the loan being made I am not liable for the amount
9         requested.
10
     (ECF No. 3 at 2.) The above responses comprise the entirety of Mr. Eigler’s
11
12   “Answer.”
13
14                                 POINTS & AUTHORITIES
15
16
          Fed. R. Civ. P. 12(f) permits the Court to “strike from a pleading an
17
     insufficient defense or any redundant, immaterial, impertinent, or scandalous
18
19   matter.” The rule allows the Court to act “on motion made by a party either
20
21
     before responding to the pleading or, if a response is not allowed, within 21 days
22
     after being served with the pleading.” Fed. R. Civ. P. 12(f)(2). The Court “has
23
24   authority under Rule 12(f) to strike a pleading, in whole or in part.” Culinary
25
26   and Service Employees Union, AFL-CIO Local 555 v. Hawaii Employee Ben.
27
     Admin., Inc., 688 F.2d 1228, 1232 (1982).
28
29        Fed. R. Civ. P. 8 outlines the requirements for responding to a pleading.
30
31   The responding party, in responding to a complaint, must “state in short and
32


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1
     plain terms its defenses to each claim asserted against it” and “admit or deny the
2
3    allegations asserted against it by an opposing party.” Fed. R. Civ. P. 8(b)(1)(A)-
4
5
     (B). The responding party’s “denial must fairly respond to the substance of the
6
     allegation.” Fed. R. Civ. P. 8(b)(2). The rule allows for either general or
7
8    specific denials, in the following circumstances:
9
10             A party that intends in good faith to deny all the allegations of a
               pleading—including the jurisdictional grounds—may do so by a
11
               general denial. A party that does not intend to deny all the
12             allegations must either specifically deny designated allegations or
13             generally deny all except those specifically admitted.
14
15   Fed. R. Civ. P. 8(b)(3).
16
             Federal courts have held that a responding party’s failure to sufficiently
17
18   comply with the requirements of Fed. R. Civ. P. 8(b) is grounds for striking the
19
20   responding party’s answer. See Greenberg v. Guzman, 2014 WL 12569375
21
     (C.D. Cal. 2014) (Court struck defendant’s Answer that contained a one-
22
23   sentence, general denial of the Complaint’s allegations, because it lacked “good
24
25   faith as required by Rule 8(b)(3)”); see also Randazza v. Cox, 2013 WL
26
     1767966 (D. Nev. 2013) (Court struck defendant’s Answer that stated she
27
28   denied “‘all counts of Complaint,’” because the statement failed to “actually
29
30   address the claims asserted” in the Complaint).1
31
32   1
         Unpublished and/or out-of-jurisdiction authorities offered for persuasive purposes only.

          Memorandum in Support of Plaintiff Cody           ETTER, MCMAHON, LAMBERSON,
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1
          Here, Mr. Eigler’s Answer is insufficient under the Federal Rules of Civil
2
3    Procedure. Mr. Eigler did not state, in short and plain terms, his admission to or
4
5
     denial of the allegations put forth in Mr. Schueler’s Complaint paragraph-by-
6
     paragraph. See Fed. R. Civ. P. 8(b)(1)(A)-(B). While Mr. Eigler denies liability
7
8    for the claims against him, his denial to said claims does not “fairly respond to
9
10   the substance of the allegation[s].”          Fed. R. Civ. P. 8(b)(2).                Mr. Eigler’s
11
     pleading does not address each, specific claim made against him, nor does it
12
13   address a significant majority of the extensive allegations made in the
14
15   Complaint.
16
                                           CONCLUSION
17
18        For the foregoing reasons, this Court should grant Mr. Schueler’s Motion
19
20   to Strike Defendant Micah Eigler’s Answer, based on Mr. Eigler’s failure to
21
     comply with Fed. R. Civ. P. 8(b)’s requirements.
22
23        RESPECTFULLY SUBMITTED this 4th day of November, 2022.
24
25                                               ETTER, McMAHON, LAMBERSON,
26                                                 VAN WERT & ORESKOVICH, P.C.
27
28                                               By: /s/ Andrew M. Wagley
29                                                  Andrew M. Wagley, ISB #10277
30                                                  Samir Dizdarevic-Miller, ISB #11471
31                                                  Attorneys for Plaintiff
32


       Memorandum in Support of Plaintiff Cody         ETTER, MCMAHON, LAMBERSON,
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1
                                 DECLARATION OF SERVICE
2
3         The undersigned certifies, under penalty of perjury of the laws of the State
4
5
     of Washington, that I am now and at all times herein, a resident of the State of
6
     Washington, over the age of eighteen years, not a party to or interested in the
7
8    above-entitled action, and competent to be a witness herein. On the date given
9
10   below, I caused to be served in the manner noted copies of the foregoing
11
     document upon the following parties:
12
13     Keith O. Crews                            U.S. Mail, postage prepaid
14     1503 Scenic Overlook                      Facsimile
15     Court                                     E-Mail - via WA Courts
16
       Kennesaw, GA 30152                        Via Hand Delivery
17
       Micah Eigler                              U.S. Mail, postage prepaid
       6208 Enfield Avenue                       Facsimile
18
       Los Angeles, CA 91316                     E-Mail - via WA Courts
19
                                                 Via Hand Delivery
20
       Four SquareBiz, LLC                       U.S. Mail, postage prepaid
21     c/o Registered Agents Inc.                Facsimile
22     30 N. Gould Street, Suite R               E-Mail - via WA Courts
23     Sheridan, WY 82801                        Via Hand Delivery
24
25
26
          EXECUTED this 4th day of November, 2022 in Spokane, Washington.
27
28                        By:/s/ Jodi Dineen
29                          Jodi Dineen
30
31
32


       Memorandum in Support of Plaintiff Cody       ETTER, MCMAHON, LAMBERSON,
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